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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF WISCONSIN
_________________________________________________________________________________

NATE A. LINDELL,
                                                           OPINION AND ORDER
                      Plaintiff
       v.                                                 Case No. 18-cv-895-slc

GARY BOUGHTON,
LEBBEUS BROWN,
C.O. SHAWN GALLINGER, and
MARK KARTMAN,

                   Defendants.
_________________________________________________________________________________

       The court recently reset the trial schedule in this case, and since then plaintiff Nate

Lindell has renewed his motion for assistance in recruiting counsel (dkt. 145), renewed his

motion for leave to proceed on a second amended complaint (dkt. 148), and has raised

concerns that he does not have access to his legal materials (dkt. 150, 154). I address each

in turn:

       First, Lindell again asks the court to recruit counsel for him, this time explaining

that he had COVID-19 symptoms and had been quarantined.                 Lindell adds that he

continues to suffer from PTSD related to the assault that is the basis of his claims in this

lawsuit. Lindell’s submissions and demeanor during the November 10, 2020 telephonic

conference -- when Lindell was testing positive for COVID-19 -- demonstrate the opposite.

I am sympathetic to Lindell’s diagnosis and to the impact that this assault has had on his

mental health, but Lindell’s more recent submissions confirm that he is tracking this

lawsuit closely and is prepared to litigate it. As I have said before, Lindell is not one of the

few prisoners that require this court’s assistance in recruiting counsel. I am denying his

renewed motion for assistance in recruiting counsel.

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       Second, Lindell again seeks to proceed on a second amended complaint, including

a claim against Officer Dustin Jaynes, because the court reset the trial schedule and

“afforded the parties more discovery.” (Dkt. 148.) The court did not reopen discovery

and Lindell still has not shown good cause for failing to seek to proceed against Jaynes back

in January of 2020, when defendants explicitly identified Jaynes as the person who

searched Keith prior to the attack. (See 10/16/2020 Order (dkt. 127) 8.) To the extent

that Lindell is renewing his request because he believes the additional time before trial

mitigates any prejudice to defendants, his belief is misplaced. Again, if I grant Lindell leave

to proceed on a claim against Jaynes, defendants will have to devote additional resources

to this case, including another round of dispositive motions.        Allowing this proposed

amendment at this time would unfairly prejudice defendants, I will deny Lindell’s renewed

motion to proceed on a second amended complaint.

       Third, Lindell has raised concerns that he does not have access to his legal materials

because he was placed in restrictive housing pending investigation of a conduct report filed

against him. It appears that Lindell was charged with assault after he was attacked by

another prisoner in mid-December.        Defendants responded to Lindell’s first letter by

reporting that Lindell no longer is placed in restrictive housing but his legal papers have

not been returned to him. Lindell reports that he may be transferred to another institution

because he was the victim of another assault, and he is concerned that his legal materials

will be lost during a transfer. That’s a valid concern.

       But Lindell is not proceeding on any claims related to his access to his legal materials

or to his placement at Columbia, so I will not take any action with respect to either issue



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at this time. That said, as this lawsuit draws closer to the March 26, 2021 pretrial filings

deadline, Lindell must have adequate access to the legal papers he needs to prepare for

trial. I expect Columbia to make this happen this without a court order, but I will issue an

order upon a showing that Lindell has not been provided timely access to the materials he

needs to prepare for trial. Toward this end, I am requiring a status report in early March

apprising the court as to (1) Lindell’s placement, and (2) whether Lindell has possession

of, or access to, his legal papers related to this lawsuit. In the meantime, I will not interfere

with the manner in with DOC officials manage Lindell’s placement and property. As

Lindell well knows, if he believes his current conditions violate his constitutional rights, he

is free to exhaust his administrative remedies and pursue a separate lawsuit about such

conditions.

                                            ORDER

       IT IS ORDERED that:

       1)     Plaintiff Nate Lindell’s renewed motion for assistance in recruiting counsel
              (dkt. 145), renewed motion to proceed on a second amended complaint (dkt.
              148), and requests for court action with respect to his legal paperwork (dkts.
              150, 154) all are DENIED.

       2)     Between March 5 and March 10, 2021, each side shall submit a status report
              on Lindell’s placement and his access to legal papers related to his claims in
              this lawsuit.

       Entered this 12th day of January, 2021.
                                                    BY THE COURT
                                                    /s/
                                                    STEPHEN L. CROCKER
                                                    Magistrate Judge




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